            Case 1:21-cv-00040-CJN Document 38 Filed 04/14/21 Page 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                      )
 US DOMINION, INC., DOMINION
                                                      )
 VOTING SYSTEMS, INC., and DOMINION
                                                      )
 VOTING SYSTEMS CORPORATION,
                                                      )
                                                      )
        Plaintiffs,
                                                      )
                                                      )   Civil Case No. 1:21-cv-00040-CJN
              v.
                                                      )
                                                      )
 SIDNEY POWELL, SIDNEY POWELL,
                                                      )
 P.C. and DEFENDING THE REPUBLIC,
                                                      )
 INC.,
                                                      )
       Defendants.

                   PLAINITFFS’ UNOPPOSED MOTION TO EXTEND TIME
                         TO RESPOND TO MOTION TO DISMISS

       Pursuant to Local Rule 7 and Fed. R. Civ. P. 6(b), Plaintiffs U.S. Dominion, Inc., Dominion

Voting Systems, Inc., and Dominion Voting Systems Corp. respectfully move to further extend

the briefing schedule within which the parties may respond to the motion to dismiss filed by

Defendants Sidney Powell, Sidney Powell, P.C., and Defending the Republic, Inc. (Dkt. 22) by

two weeks. Currently, Plaintiffs’ response is due April 19, 2021 and Defendants’ reply is due May

10, 2021. The relief requested would extend Plaintiffs’ deadline to May 3, 2021 and Defendants’

deadline to May 24, 2021. Pursuant to Local Rule 7(m), the parties’ counsel conferred about the

proposed extension, and Defendants do not oppose this motion.

       In support of this motion, Plaintiffs state as follows:

       1.          On February 8, 2021, Defendants sought a 30-day extension to answer or move in

response to the complaint. (Dkt. 16.) That extension was granted. (Minute Order (Feb. 10, 2021).

Defendants filed a Motion to Dismiss on March 22, 2021. (Dkt. 22.)




                                                  1
            Case 1:21-cv-00040-CJN Document 38 Filed 04/14/21 Page 2 of 3




       2.       On March 29, 2021, Defendants filed an unopposed motion to set a briefing

schedule for the motion to dismiss. (Dkt. 30.) The Court by minute order granted that motion and

set a briefing schedule enlarging by two weeks the time for Plaintiffs to file their opposition to the

motion to dismiss, and the time for Defendants to file a reply in support of that motion.

       3.       Plaintiffs have not previously requested an extension of the deadline to file their

opposition to the motion to dismiss.

       4.       Pursuant to Paragraph 9(b)(iv)-(v) of this Court’s standing order, the requested

relief would not affect any other deadlines (i.e., no hearings are set, and the requested relief

provides a complete briefing schedule for the motion to dismiss).

       5.       Pursuant to Paragraph 9(b)(vi) of this Court’s standing order, Defendant does not

oppose the requested extension.

       6.       Pursuant to Paragraph 9(b)(iii) of this Court’s standing order, Plaintiffs seek the

requested extension for the following good cause:

       •     New counsel appeared on behalf of Plaintiffs on or about April 2, 2021, in this matter,

             and counsel is preparing responses both to this motion and to the motion to dismiss in

             US Dominion, Inc., et al. v. Giuliani (No. 1:21-cv-00213). Counsel asks for this

             extension, as well as the extension recently requested in Giuliani (Dkt. 27 in that case),

             to enable counsel (including new counsel) to fully and properly attend to the responses

             due in both cases.

       7.       Plaintiffs respectfully submit that the foregoing constitutes good cause for an

extension under Fed. R. Civ. P. 6(b)(1) (“[w]hen an act may or must be done within a specified

time, the court may, for good cause, extend the time”), that they do not seek these enlargements




                                                   2
          Case 1:21-cv-00040-CJN Document 38 Filed 04/14/21 Page 3 of 3




for purpose of delay or frustration of the progress of this matter, and that the respective

enlargements would not unduly burden the opposite parties.

       WHEREFORE, Plaintiffs respectfully ask this Court to extend Plaintiffs’ time to respond

to the motion to dismiss until May 3, 2021 and Defendants’ time to reply until May 24, 2021.

Dated: April 14, 2021                       BY:     SUSMAN GODFREY LLP

                                                    /s/ Justin A. Nelson
                                                   Justin A. Nelson
                                                   SUSMAN GODFREY LLP
                                                   1000 Louisiana Street, #5100
                                                   Houston, Texas 77002
                                                   (713) 651-9366
                                                   jnelson@susmangodfrey.com



                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of April 2021, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties.



                                                    /s/ Justin A. Nelson
                                                    Justin A. Nelson




                                               3
